          Case 1:14-cr-03609-JB Document 254 Filed 05/27/21 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

       Plaintiff,

vs.                                                                        No. CR 14-3609 JB

BENTLEY STREETT,

       Defendant.

           STIPULATED SENTENCING PLEADINGS SCHEDULING ORDER

       At the parties’ request, the Court hereby imposes the following scheduling order with

respect to the upcoming sentencing hearing:

                      Renewed informal objections to Presentence Report (“PSR”), if any, due
 June 10, 2021
                      to United States Probation Office
 July 1, 2021         Formal objections to PSR, if any, due
 July 22, 2021        Response(s) to objections to PSR due
 August 5, 2021       Sentencing memorandum due (concurrent filing)
 August 19, 2021      Sentencing hearing




                                                        ___________________________
                                                   UNITED STATES DISTRICT JUDGE

                                                   DATED: May 27, 2021

Submitted by:

SARAH J. MEASE
Assistant United States Attorney

PAUL LINNENBURGER
Counsel for Defendant
